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     Attorneys for Plaintiff and the Proposed Class
13
                               UNITED STATES DISTRICT COURT
14                       FOR THE NORTHERN DISTRICT OF CALIFORNIA
                                  SAN FRANCISCO DIVISION
15

16   JONATHAN FARIDIAN, individually and on           Case No.: 3:23-cv-01692-JD
     behalf of all others similarly situated,
17                                                    PLAINTIFF’S ADMINISTRATIVE
                           Plaintiff,                 MOTION TO CONSIDER WHETHER
18                                                    ANOTHER PARTY’S MATERIALS
                                                      SHOULD BE SEALED AS TO DEFENDANT
            v.                                        DONOTPAY, INC.
19

20   DONOTPAY, INC., a Delaware corporation,          [CIVIL L.R. 7-11, 79-5(f)]

21                         Defendant.                 Date Action Filed: March 3, 2023
                                                      Date of Removal: April 7, 2023
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     PL’S ADMIN. MTN. TO CONSIDER WHETHER                                  CASE NO. 3:23-CV-01692-JD
     DONOTPAY’S MATERIALS SHOULD BE SEALED
           Case 3:23-cv-01692-RFL Document 33 Filed 05/08/23 Page 2 of 3




 1          Pursuant to Civil Local Rule 7-11 and Civil Local Rule 79-5(f), Plaintiff Jonathan Faridian

 2   hereby respectfully submits this Administrative Motion to Consider Whether Another Party’s

 3   Materials Should Be Sealed as to Defendant DoNotPay, Inc. (“DoNotPay”). Plaintiff has filed his

 4   Reply in Support of his Motion for Leave to Conduct Jurisdictional Discovery (the “Reply”)

 5   partially under seal because it references or quotes certain documents Defendant designated

 6   provisionally confidential subject to the ultimate entry of a protective order entered in the case.

 7   Plaintiff cites or references the designated documents in his Reply in the following ways: (1) Page 4,

 8   Line Nos. 3-19 of the Reply includes information produced by Defendant which Defendant asked

 9   Plaintiff to treat as confidential; (2) Page 5, Line Nos. 10-11 of the Reply includes information

10   produced by Defendant which Defendant asked Plaintiff to treat as confidential; (3) Page 6, Line

11   Nos. 16-17 of the Reply includes information produced by Defendant which Defendant asked

12   Plaintiff to treat as confidential; and, (3) Exhibit 2 to the Declaration of Emily Penkowski includes

13   information produced by Defendant which Defendant asked Plaintiff to treat as confidential, and

14   discussion of the same.

15          Consistent with Civil Local Rule 79-5(f)(3), within seven days of the filing of Plaintiff’s

16   motion, Defendant DoNotPay (the designating party) must file with the Court and serve a statement

17   and/or declaration supporting the request to seal the protected material, and pursuant to the Standing

18   Order for Civil Cases Before District Judge James Donato, must include a new proposed order in the

19   tabular format required by Civil Local Rule 79-5(d)(1)(B) that includes Defendant’s reasons for

20   sealing the material. Pursuant to Civil Local Rule 79-5(f)(5), Plaintiff must file his response to

21   Defendant’s statements and/or declarations within four (4) days of Defendant’s filing.

22                                              CONCLUSION

23          For the foregoing reasons, Plaintiff requests leave to file under seal certain portions of his

24   Reply pending the Court’s review of Defendant’s forthcoming justifications.

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26   Dated: May 8, 2023                            By: /s/ J. Eli Wade-Scott
                                                              One of Plaintiff’s Attorneys
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     PL’S ADMIN. MTN. TO CONSIDER WHETHER               -1-                      CASE NO. 3:23-CV-01692-JD
     DONOTPAY’S MATERIALS SHOULD BE SEALED
          Case 3:23-cv-01692-RFL Document 33 Filed 05/08/23 Page 3 of 3




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     PL’S ADMIN. MTN. TO CONSIDER WHETHER        -2-                     CASE NO. 3:23-CV-01692-JD
     DONOTPAY’S MATERIALS SHOULD BE SEALED
